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                                       United States District Court
                                      Central District of California

UNITED STATES OF AMERICA vs.                                                                            CR 09-701-R
Defendant JOSHUA NOEL                               S.S.#-------7104
Residence:          N/A                     Mailing:    SAME
----------------------------------------------------------------------
                       JUDGMENT AND PROBATION/COMMITMENT ORDER
----------------------------------------------------------------------
     In the presence of the attorney for the government, the defendant
appeared in person, on:       MARCH 1, 2010
                          Month / Day / Year
COUNSEL:
      XX WITH COUNSEL Roger Rosen, retained
X PLEA:
      XX GUILTY, and the Court being satisfied that there is a factual
basis for the plea.
          NOLO CONTENDERE                NOT GUILTY
FINDING:
     There being a jury verdict of          GUILTY, defendant has been
convicted as charged of the offense(s) of: Possession of Child
Pornography in violation of Title 18 USC 2252A(a)(5)(B) as charged in
the single-count information.

JUDGMENT AND PROBATION/COMMITMENT ORDER:
          The Court asked whether defendant had anything to say why judgment should not be pronounced. Because no sufficient cause to the
contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered that: Pursuant
to the Sentencing Reform Act of 1984, it is the judgement of the court that:

     The defendant is placed on PROBATION for a term of five (5) years
under the following terms and conditions: the defendant 1) shall, in
the custody of the Bureau of Prisons, be placed in a jail-type facility
for a term of six (6) months; 2) shall perform twenty-five hundred
(2500) hours of community service, as directed by the Probation
Officer; 3) shall report in person before the Court every 120 days, as
directed by the Probation Officer; 4) shall comply with the rules and
regulations of the U.S. Probation Office and General Order 318; 5)
shall pay the special assessment in accordance with this judgment’s
orders pertaining to such payment; 6) shall cooperate in the collection
of a DNA sample from the defendant; 7) shall possess and use only those
computers and computer-related devices, screen user names, passwords,
email accounts, and internet service providers (ISPs), which have been
disclosed to the Probation Officer upon commencement of supervision;
any changes or additions are to be disclosed to the Probation Officer
prior to the first use; computers and computer-related devices are
personal computers, personal data assistants (PDAs), internet
appliances, electronic games, cellular telephones, and digital storage
media, as well as their peripheral equipment, that can access, or can
be modified to access, the Internet, electronic bulletin boards, and
other computers; 8) shall not possess any materials, including pic-

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                                                                                                           Deputy Clerk
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U.S.A. V. JOSHUA NOEL                                                                                                          CR 09-701-R
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======================================================================
                         JUDGMENT AND PROBATION/COMMITMENT ORDER
=====================================================================
tures, photographs, books, writings, drawings, videos, or video games,
depicting and/or describing child pornography, as defined in 18 USC
2256(8), this condition does not prohibit the defendant from possessing
materials solely because they are necessary to, and used for, a
collateral attack, nor does it prohibit him from possessing materials
prepared for/used for the purposes of his court-mandated mental health
treatment, when the defendant’s treatment provider for the probation
officer has approved of his possession of the material in advance; 9)
shall participate in a psychological counseling or treatment program,
as approved and directed by the Probation Officer, and shall abide by
all rules, requirements and conditions of such program.

     IT IS FURTHER ORDERED that defendant pay to the United States a
special assessment of $100.00, which is due immediately.

     IT IS FURTHER ORDERED that the defendant shall self-surrender to
the designated facility or to the U.S. Marshal located at the Roybal
Courthouse, 255 East Temple Street, Los Angeles, CA 90012, to commence
the six month custody portion of this sentence, by April 12, 2010 by
12 noon.

     IT IS FURTHER ORDERED that the bond of the defendant shall be
exonerated upon his self-surrender on April 12, 2010 by 12 noon.
In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and Supervised Release
set out on the reverse side of this judgment be imposed. the Court may change the conditions of supervision, reduce or extend the period of supervision,
and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke supervision for a violation
occurring during the supervision period.




Signed by:                District Judge
                                                                           MANUEL L. REAL

It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment
Order to the U.S. Marshal or other qualified officer.


                                                                                  Terry Nafisi, Clerk of Court

Dated/Filed                  March 2, 2010                                       By             /S/
                           Month / Day / Year                                            William Horrell, Deputy Clerk
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    In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of
    Probation and Supervised Release within this judgment be imposed. The Court may change the conditions of
    supervision, reduce or extend the period of supervision, and at any time during the supervision period or within the
    maximum period permitted by law, may issue a warrant and revoke supervision for a violation occurring during the
    supervision period.




    The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).

                       STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                        While the defendant is on probation or supervised release pursuant to this judgment:
    1.   The defendant shall not commit another                                10.   the defendant shall not associate with any
         Federal, state or local crime;                                              persons engaged in criminal activity, and shall
    2.   the defendant shall not leave the judicial                                  not associate with any person convicted of a
         district without the written permission of the                              felony unless granted permission to do so by
         court or probation officer;                                                 the probation officer;
    3.   the defendant shall report to the probation                           11.   the defendant shall permit a probation officer to
         officer as directed by the court or probation                               visit him or her at any time at home or
         officer and shall submit a truthful and complete                            elsewhere and shall permit confiscation of any
         written report within the first five days of each                           contraband observed in plain view by the
         month;                                                                      probation officer;
    4.   the defendant shall answer truthfully all                             12.   the defendant shall notify the probation officer
         inquiries by the probation officer and follow                               within 72 hours of being arrested or questioned
         the instructions of the probation officer;                                  by a law enforcement officer;
    5.   the defendant shall support his or her                                13.   the defendant shall not enter into any
         dependents and meet other family                                            agreement to act as an informer or a special
         responsibilities;                                                           agent of a law enforcement agency without the
    6.   the defendant shall work regularly at a lawful                              permission of the court;
         occupation unless excused by the probation                            14.   as directed by the probation officer, the
         officer for schooling, training, or other                                   defendant shall notify third parties of risks that
         acceptable reasons;                                                         may be occasioned by the defendant’s criminal
    7.   the defendant shall notify the probation officer                            record or personal history or characteristics,
         at least 10 days prior to any change in                                     and shall permit the probation officer to make
         residence or employment;                                                    such notifications and to conform the
    8.   the defendant shall refrain from excessive use                              defendant’s compliance with such notification
         of alcohol and shall not purchase, possess, use,                            requirement;
         distribute, or administer any narcotic or other                       15.   the defendant shall, upon release from any
         controlled substance, or any paraphernalia                                  period of custody, report to the probation
         related to such substances, except as prescribed                            officer within 72 hours;
         by a physician;                                                       16.   and, for felony cases only: not possess a
    9.   the defendant shall not frequent places where                               firearm, destructive device, or any other
         controlled substances are illegally sold, used,                             dangerous weapon.
         distributed or administered;




G        The defendant will also comply with the following special conditions pursuant to General Order 01-05 (set forth
         below).
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    STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL
SANCTIONS

         The defendant shall pay interest on a fine or restitution of more than $2,500, unless the court waives interest or
unless the fine or restitution is paid in full before the fifteenth (15th) day after the date of the judgment pursuant to 18 U.S.C.
§3612(f)(1). Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. §3612(g). Interest
and penalties pertaining to restitution , however, are not applicable for offenses completed prior to April 24, 1996.

        If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the
defendant shall pay the balance as directed by the United States Attorney’s Office. 18 U.S.C. §3613.

        The defendant shall notify the United States Attorney within thirty (30) days of any change in the defendant’s
mailing address or residence until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C.
§3612(b)(1)(F).

          The defendant shall notify the Court through the Probation Office, and notify the United States Attorney of any
material change in the defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or
restitution, as required by 18 U.S.C. §3664(k). The Court may also accept such notification from the government or the
victim, and may, on its own motion or that of a party or the victim, adjust the manner of payment of a fine or restitution-
pursuant to 18 U.S.C. §3664(k). See also 18 U.S.C. §3572(d)(3) and for probation 18 U.S.C. §3563(a)(7).

         Payments shall be applied in the following order:

                   1. Special assessments pursuant to 18 U.S.C. §3013;
                   2. Restitution, in this sequence:
                             Private victims (individual and corporate),
                             Providers of compensation to private victims,
                             The United States as victim;
                   3. Fine;
                   4. Community restitution, pursuant to 18 U.S.C. §3663(c); and
                   5. Other penalties and costs.




                   SPECIAL CONDITIONS FOR PROBATION AND SUPERVISED RELEASE

         As directed by the Probation Officer, the defendant shall provide to the Probation Officer: (1) a signed release
authorizing credit report inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure
and (3) an accurate financial statement, with supporting documentation as to all assets, income and expenses of the
defendant. In addition, the defendant shall not apply for any loan or open any line of credit without prior approval of the
Probation Officer.

         The defendant shall maintain one personal checking account. All of defendant’s income, “monetary gains,” or
other pecuniary proceeds shall be deposited into this account, which shall be used for payment of all personal expenses.
Records of all other bank accounts, including any business accounts, shall be disclosed to the Probation Officer upon
request.

         The defendant shall not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess
of $500 without approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied
in full.

                    These conditions are in addition to any other conditions imposed by this judgment.
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                                                                RETURN

      I have executed the within Judgment and Commitment as follows:
     Defendant delivered                                                               to
     on
     Defendant noted on
     appeal on
     Defendant released
     on
     Mandate issued on
     Defendant’s appeal
     determined on
     Defendant delivered                                                               to
     on
at
          the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                          United States Marshal

                                                 B
                                                 y
               Date                                                       Deputy Marshal




                                                            CERTIFICATE

      I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in
      my office, and in my legal custody.

                                                                          Clerk, U.S. District Court

                                                 B
                                                 y
               Filed                                                      Deputy Clerk
               Date




                                           FOR U.S. PROBATION OFFICE USE ONLY


     Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2)
     extend the term of supervision, and/or (3) modify the conditions of supervision.

              These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.


              (Signed)
                         Defendant                                                          Date




                         U. S. Probation Officer/Designated Witness                         Date
